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                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

STANTEC CONSULTING SERVICES INC.,         :
               Plaintiff,                 :
                                          :
            v.                            :                 No. 5:20-cv-06121
                                          :
MEHMET ARSLAN;                            :
GEORGE H WILLIAMS, JR.;                   :
BENJAMIN RENSHAW; and                     :
SARGENT & LUNDY LLC,                      :
                  Defendants.             :
__________________________________________

                                           ORDER

        AND NOW, this 30th day of September, 2021, for the reasons set forth in the Opinion
issued this date, IT IS ORDERED THAT:

       1.     Plaintiff’s Motions for Preliminary Injunction, ECF Nos. 2 and 11, are DENIED
without prejudice 1 without a hearing.
       2.     Plaintiff’s Motion for Expedited Discovery, ECF No. 3, is DENIED.
       3.     Defendants’ Motion to Dismiss, ECF No. 26, is , is GRANTED in part and
DENIED in part as follows:
              A.      The motion to dismiss Counts I and V is granted and these claims are
dismissed without prejudice.
              B.      Within twenty (20) days of the date of this Order, Plaintiff may file an
amended complaint as to these claims consistent with the Opinion.
              C.      The motion to dismiss Count IV is denied.
       4.     The unopposed Motions to Seal, ECF Nos. 19, 23, 27, 30, are GRANTED as
these documents contain confidential information and/or trade secrets.

                                                     BY THE COURT:

                                                     /s/ Joseph F. Leeson, Jr.____________
                                                     JOSEPH F. LEESON, JR.
                                                     United States District Judge



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      If Plaintiff obtains additional evidence or circumstances change prior to trial, the motion
may be renewed.
